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                              IN UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 FAI HOWARD, Ph.D.,

                Plaintiff,

 v.                                                    Case No. 8:21-cv-00442
 UNIVERSITY OF SOUTH FLORIDA, BOARD
 OF TRUSTEES,

                Defendant.


                        COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, Fai Howard, Ph.D. (“Plaintiff” or “Dr. Howard”), by and through the undersigned

counsel, hereby sues Defendant, University of South Florida, Board of Trustees (“Defendant” or

“USF”), and states as follows:

                                     CAUSES OF ACTION

       1.      This is an action brought under the Equal Pay Act, 29 U.S.C. § 206(d).

                                            PARTIES

       2.      Plaintiff Dr. Howard is an individual and currently resides in Hillsborough County,

Florida and at all material times was employed by Defendant.

       3.      Defendant is a state university with its principal place of operation is in Tampa,

Florida.

                                 JURISDICTION AND VENUE

       4.      Jurisdiction is proper in this Court under 28 U.S.C. §§ 1331 and 29 U.S.C. § 206(d)

because this action involves a federal question under the Equal Pay Act.

       5.      Venue is proper in the United States District Court for the Middle District of Florida

because Plaintiff resides in, and Defendants conduct business in, and all of the events giving rise



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to Plaintiff’s claims occurred within the geographic region comprising the Middle District of

Florida. Venue is proper in the Tampa Division under Local Rule l.02(b)(5) since the action

accrued Hillsborough County, Florida.

                                  GENERAL ALLEGATIONS

       6.       Defendant USF, as a public agency, is a covered employer subject to the

requirements of the Equal Pay Act, 29 U.S.C. § 203(d) (EPA). (29 CFR 1620.1(a)(2).

       7.       Plaintiff Howard was hired by USF in September 2017.

       8.       She currently serves the university as the Assistant Dean, Upper-Level Initiatives.

       9.       In 2018, Dr. Howard discovered that her annual salary was significantly lower than

that of a similarly situated male counterpart serving in the capacity of Assistant Dean, Teaching

and Learning.

       10.      Dr. Howard also learned that the similarly situated male counterpart received a

significantly higher annual stipend than she had received.

       11.      Dr. Howard’s position and that of Assistant Dean, Teaching and Learning entail

equal skill, effort, and responsibility, and are performed under similar working conditions.

       12.      Both positions required a terminal degree, experience in student success and student

support services, and experience in higher education administration.

       13.      In late July 2018, Dr. Howard met with former Dean of Undergraduate Studies, Dr.

Paul Atchley, to discuss the apparent pay disparity.

       14.      Despite the meeting and follow-up communications from Dr. Howard to Vice

President of Student Success Paul Dosal, the pay disparity was not remedied.

       15.      In January 2020, Dr. Howard met with Dr. Paul Dosal about the pay disparity.

       16.      The meeting with Dr. Dosal resulted in a one-time Pay for Performance Bonus to

Dr. Howard and two other Assistants.

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       17.      However, the one-time bonus payments did not address past or future pay inequity.

       18.      To this day, as compared to Dr. Howard, the Assistant Dean for Teaching and

Learning still earns a higher base salary as well as a permanent annual stipend which has not been

afforded Dr. Howard.

       19.       USF has not provided a justification for the disparate pay.

       20.      As a result of the disparate treatment in terms of base salary and annual bonus, Dr.

Howard has been damaged in the way of lost compensation.

       21.      Dr. Howard has retained legal counsel to pursue her instant claim under the EPA.

                                           COUNT I
             (Wage Discrimination in violation of the EPA, 29 U.S.C. Section 206(d))

       22.      Plaintiff re-alleges and adopts, as if fully set forth in Count I, the allegations in

paragraphs 1 through 21.

       23.      In violation of the EPA, Defendant failed to pay Plaintiff at a rate not less than that

paid to male employees for equal work on jobs the performance of which required equal skill,

effort, and responsibility, and which were performed under similar working conditions.

       24.      Defendant willfully failed to meet its equal pay obligations under the EPA.

       25.      As a direct result of Defendant’s violation of the EPA, Plaintiff has suffered

damages in the way of earned compensation.

       26.      Defendant did not make a good faith effort to comply with the EPA with respect to

its compensation of Plaintiff.

       27.      Plaintiff is entitled to recover from Defendant back pay measured by the difference

between what she was paid and what she should have been paid in the absence of the disparate pay

policy, an additional equal amount as liquidated damages, reasonable attorneys’ fees and costs

pursuant to 29 U.S.C. §216(b).


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       WHEREFORE, Plaintiff, Fai Howard, Ph.D., demands judgment against Defendant USF

for back pay, liquidated damages, prejudgment interest together with the costs of suit and

reasonable attorney’s fees (pursuant to 29 U.S.C. § 216(b)), an injunction against the Defendant

ordering its compliance with the EPA with regard to its future compensation of Plaintiff, and such

other and further relief that the Court deems just and proper.

                                    JURY TRIAL DEMAND

       Plaintiff hereby demands a trial by jury as to all triable issues.

Dated this 24th day of February 2021.                 Respectfully submitted,

                                                      s/ R. Michael Pierro, Jr.
                                                      R. MICHAEL PIERRO, JR.
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